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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

      UBIQUITI INC., f/k/a Ubiquiti Networks,
      Inc.,

                                Plaintiff,

                          v.
                                                            Civil Action No.: 1:18-cv-05369
      CAMBIUM NETWORKS, INC.;
                                                            JURY TRIAL DEMANDED
      CAMBIUM NETWORKS, LTD.;
      BLIP NETWORKS, LLC;
                                                            Hon. J. Gary S. Feinerman
      WINNCOM TECHNOLOGIES, INC.;
      SAKID AHMED; and
      DMITRY MOISEEV

                                Defendants.


      PLAINTIFF UBIQUITI INC.’S MOTION TO COMPEL DE-DESIGNATION OF
    DEFENDANTS’ ATTORNEYS’ EYES ONLY PRODUCTION AND FOR SANCTIONS

        Plaintiff Ubiquiti Inc. (“Ubiquiti”) respectfully requests that this Court grant the enclosed

Motion to Compel De-Designation of Defendants’ Attorneys’ Eyes Only Production and for

Sanctions, 1 and states as follows in support thereof:

                                         INTRODUCTION

        Defendants have improperly designated every single document they produced to date as

“CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” (“AEO”) under the terms of

the Agreed Confidentiality Order in this case (Dkt. No. 102, herein the “Protective Order”).

Defendants’ wholesale and indiscriminate AEO designations violate the express terms of the

Protective Order and governing law, and have prejudiced Ubiquiti by impeding it from


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  Pursuant to the terms of the Fourth Amended General Order In Re: Coronavirus COVID-19 Public
Emergency (Dkt. No. 131), Ubiquiti has noticed this motion for presentment at the earliest available date
of July 15, 2020 – which date may be further subject to any individual orders entered by this Court with
respect to the scheduling of such presentment hearings.


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conferring with its counsel on facts learned in discovery. Moreover, Defendants’ overbroad

designations have prevented Ubiquiti’s counsel from being able to confer with its client

regarding Ubiquiti’s written settlement demand – currently required to be filed by next Monday,

June 1st, in accordance with Magistrate Judge Cummings’ scheduling order. Despite Ubiquiti’s

best efforts to resolve this matter, Defendants have flatly refused to de-designate any of their

production documents and have simply ignored Ubiquiti’s recent correspondence on this matter.

Accordingly, Ubiquiti respectfully moves the Court to grant the relief requested in this Motion.

                                        BACKGROUND

       1.      On February 4, 2020, the Court entered the Protective Order in this action. See

Dkt. No. 102; Declaration of Erik J. Ives (“Ives Decl.”), at ¶ 4 (attached hereto as Appendix 1).

Among other provisions, the Protective Order allows either party to designate documents

produced to the other as:

               a.      “Confidential – Subject to Protective Order,” which designation limits

       disclosure to outside counsel, a restricted number of party representatives (defined as

       “[i]ndividual parties and up to 2 in-house counsel or employees who are not competitive

       decision makers of a party but only to the extent identified to opposing counsel and

       determined in good faith that such in-house counsel or employee’s assistance is

       reasonably necessary to the conduct of the litigation in which the information is

       disclosed”) and certain other listed individuals (e.g. experts, court reporters, etc.) (id. at

       §§ 2, 5, 14).

               b.      “Confidential Restricted – Attorneys’ Eyes Only”, which designation is

       required to be limited to only Confidential Information that “is so sensitive that its

       dissemination to those individuals identified in 14(b)(2) [party representatives] and




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        14(b)(7) [deposition witnesses] would cause demonstrable harm to the Producing Party,”

        and thereby limits disclosure to only outside counsel and certain other listed individuals

        (e.g. experts, court reporters, etc.), while prohibiting disclosure of such documents or

        information to any party representatives, in-house counsel or employees, or deposition

        witnesses (id. at §§ 7, 14).

        2.     On March 3, 2020, Defendants served their initial document production to

Ubiquiti (which is the only production served to date by Defendants). Defendants’ production

included over 67,000 documents consisting of 178,289 individually bates numbered pages.

Upon completion of its review of Defendants’ production, Ubiquiti’s counsel confirmed that

every single document had been designated by Defendants as “CONFIDENTIAL RESTRICTED

– ATTORNEYS’ EYES ONLY” (“AEO”). See Ives Decl. at ¶ 5.

        3.     Ubiquiti has satisfied its meet and confer obligations with respect to this motion

pursuant to Section 20(a) of the Protective Order and Local Rule 37.2. Ubiquiti’s counsel has

repeatedly attempted to meet and confer with Defendants’ counsel regarding their overbroad

AEO designations, both with respect to (i) the production in its entirety, and (ii) specific

documents/information sought to be disclosed to Ubiquiti’s in-house counsel for purposes of

preparing the pre-settlement conference demand letter to be submitted to Magistrate Judge

Cummings in this action. 2 In response to these requests, Defendants refused to de-designate any

of their production documents. See Ives Decl. at ¶¶ 6-9 & Exs. C-D. Specifically, counsel for

the parties participated in the following meet and confer communications:




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  The current deadline for filing of Ubiquiti’s pre-settlement conference demand letter is next Monday,
June 1st. As a result of Defendants’ overbroad AEO designations, Ubiquiti intends to file a separate
motion before Magistrate Judge Cummings to extend this deadline until after the Court enters its ruling
on this matter.


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           a.      On May 8, 2020, Ubiquiti sent a letter to Defendants objecting to their

    overbroad AEO designations in accordance with Section 20(a) of the Protective Order,

    which letter explained the basis for Ubiquiti’s belief that Defendants’ designation of its

    entire production as AEO was not proper with citation to controlling authority, and

    further gave Defendants an opportunity to review the designated material, to reconsider

    the designation, and, if no change in designation is offered, to explain the basis for the

    designation. See Ives Decl. at ¶ 6 & Ex. C.

           b.      On May 15, 2020, Defendants responded to Ubiquiti’s letter by claiming

    that its designation challenge was “deficient” on the grounds that: (i) Defendants had no

    obligation to respond to the request on account of certain extensions granted by the

    Court’s COVID-19 Orders, and (ii) Ubiquiti had an obligation to assert “on a document

    by document basis” which documents it believed were improperly designated as AEO.

    See Ives Decl. at ¶ 7 & Ex. D.

           c.      On May 20, 2020, Ubiquiti sent further meet and confer correspondence in

    which it responded to Defendants’ arguments, while further noting that the upcoming

    deadline for submission of Ubiquiti’s pre-settlement conference letter necessarily

    required that the parties confer regarding the AEO designations for certain specific

    documents listed therein. In view of that deadline, Ubiquiti requested that Defendants

    respond by no later than May 22, 2020 in order to confirm that those specific documents

    may be de-designated to be “Confidential”, or alternatively to provide a date and time for

    the parties to meet and confer telephonically to resolve this matter. Defendants failed to

    respond in any way to Ubiquiti’s May 20th correspondence. See Ives Decl. at ¶ 8 & Ex.

    D.




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               d.     On May 23, 2020, Ubiquiti sent correspondence to Defendants noting their

       failure to respond, and once again requesting that counsel make themselves available for

       a meet and confer regarding the specific documents listed therein. Ubiquiti expressly

       advised Defendants that “if you continue to refuse to respond or discuss the matter

       between now and noon CT on Tuesday, May 26 (I will make myself available at your

       convenience), we will consider the parties to be at an impasse. In that event, we will

       move the Court on Tuesday to re-designate them as CONFIDENTIAL. We will file the

       documents under seal (subject of course to the Court’s ruling on that motion), but please

       consider whether it would be more efficient to discuss them on a meet/confer instead.”

       Defendants failed to respond in any way to Ubiquiti’s May 23rd correspondence. See

       Ives Decl. at ¶ 9 & Ex. D.

       4.      In accordance with Local Rule 37.2, Ubiquiti states that its attempts to engage in

any consultation with Defendants on this issue beyond the correspondence described herein were

unsuccessful. In all, Ubiquiti offered three separate invitations to Defendants’ counsel to address

the matter telephonically, and further offered to narrow the scope of any proposed meet and

confer to the specific documents that were the subject of forthcoming court deadlines. Ubiquiti’s

invitations to meet and confer telephonically in accordance with the local rules and this Court’s

standing orders were either rejected or ignored by Defendants.

                                     LEGAL STANDARD

       Under Federal Rule of Civil Procedure 26(c) and the terms of the Protective Order,

Defendants have the burden to show that they have properly designated documents as

confidential or attorneys’ eyes only under a protective order. See Protective Order § 20(b) (“The

burden of persuasion in any such challenge proceeding shall be on the designating party.”); Team




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Play Inc. v. Boyer, No. 03 C 7240, 2005 WL 256476, at *1 (N.D. Ill. Jan. 31, 2005); THK

America, Inc. v. NSK Co. Ltd., 157 F.R.D. 637, 646 (N.D. Ill. 1993). Once the designation has

been challenged, it is the burden of the designating party to justify the need for enforcement of

the protective order with respect to challenged documents. See Team Play, 2005 WL 256476, at

*1.        Confidentiality designations must be made in good faith, and the over-designation of

documents as confidential may be viewed as evidence of bad faith conduct by a party in failing

to comply with the terms of the protective order. See In re Ullico Inc. Litig., 237 F.R.D. 314,

317 (D.D.C. 2006); Team Play, supra at *1 (sweeping AEO designations “can be a form of

discovery abuse” and result in the “imposition of sanctions on the designating party”).

                                              ARGUMENT

      I.        Defendants Violated the Protective Order and Abused the Discovery Process.

            Defendants’ overbroad AEO designations violate the express terms of the Protective

Order and applicable law, and constitute a bad faith abuse of the discovery process.

            The Protective Order in this case allows either party to designate documents produced to

the other as “Confidential Restricted – Attorneys’ Eyes Only” (“AEO”) or “Confidential –

Subject to Protective Order” (“Confidential”). See supra at pgs. 2-3, ¶ 1; Protective Order, at §§

2, 5, 7, 14. In seeking to apply the more restrictive of these two designations, Defendants have

the burden to prove that the materials designated as AEO include “Confidential Information …

so sensitive that its dissemination” to the opposing party’s in-house counsel or other restricted

personnel (as well as witnesses at depositions) would cause “demonstrable harm to the

Producing Party.” Id. at §§ 7, 14. 3



3
 Given the subject matter of this litigation, the parties agreed in the Protective Order to further limit the
disclosure of documents designated as “Confidential” to only “[i]ndividual parties and up to 2 in-house
counsel or employees who are not competitive decision makers of a party but only to the extent identified


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       Defendants blatantly ignored these obligations under the Protective Order, and instead

marked their entire 178,279 page production as AEO. By way of example, non-substantive

materials such as communications relating to the ordering of clothing with the Elevate logo (e.g.

CMBM-00070089; CMBM-00012411), out-of-office e-mail replies (e.g. CMBM-00166669),

responses to outlook calendar invitations (e.g. CMBM-00024835), airfare and travel information

(e.g. CMBM-00028777), and numerous other non-confidential communications and documents

were all designated as AEO. See Ives Decl. Ex. A (documents filed under seal). In addition,

Defendants designated all of the substantive documents, communications and information

pertaining to the subject matter of Ubiquiti’s claims and the itemization of damages in this case

as AEO – none of which rise to the level required for such heightened designations. For

example, the specific documents that Ubiquiti requested Defendants to de-designate for purposes

of the settlement conference are each between 2 and 4 years old and do not contain trade secrets

or other highly confidential subject matter; thus, there exists no demonstrable harm that would be

caused if such materials were to be viewed by Ubiquiti’s two (2) in-house counsel

representatives pursuant to Paragraph 14(b)(2) of the Protective Order (if such documents were

designated as Confidential instead of AEO). See Ives Decl. Ex. B (documents filed under seal).

       It is well-accepted in this District and elsewhere that a designating parties’ excessive

designation of their production as AEO constitutes discovery abuse in violation of the Federal

Rules of Civil Procedure—including at rates far less than the 100% rate applied by Defendants.

See, e.g., THK, 157 F.R.D. at 645 (holding that 79% AEO designation rate was “absurdly high”

and imposing sanctions providing that defendants must pay plaintiff’s attorneys’ fees and have

“lost the right” to use AEO designations); Procaps S.A. v. Patheon Inc., No. 12-cv-24356, 2015


to opposing counsel and determined in good faith that such in-house counsel or employee’s assistance is
reasonably necessary to the conduct of the litigation in which the information is disclosed.”


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WL 4430955, *7 (S.D. Fla. July 20, 2015) (finding that “designation percentages of 95%....have

frequently been condemned”, and ordering designating party’s law firm to pay opponent’s

reasonable attorneys’ fees); In re Ullico, 237 F.R.D. at 317-18 (holding that 99%

“confidentiality” designation rate was a “gross” “abuse” that “unfairly burdened” the opposing

party); Healthtrio, LLC v. Aetna, Inc., No. 12-cv-03229, 2014 WL 6886923, at *3-5 (D. Col.

Dec. 5, 2014) (sanctioning defendant who designated 90% of production as AEO in finding that

“nearly everything Defendants have produced in discovery is off-limits not only to Plaintiff and

Plaintiff’s in-house counsel, but also to the specific corporate officers designated for access to

Confidential documents”). Moreover, the law is clear that Defendants are not permitted to shift

the burden of designation to Ubiquiti by labeling hundreds of thousands of pages as AEO, and

subsequently demand that Ubiquiti identify the specific documents that it wants de-designated.

See, e.g., id. at *3 (endorsing blanket challenge instead of challenge to individual pages and

documents where defendants acted in bad faith by “indiscriminately designating nearly their

entire production” as AEO); Procaps, 2015 WL 4430955, at *8 (inequitable to shift burden to

the receiving party to specifically identify precise documents it wants designating party to re-

review).

       Among other forms of prejudice caused by Defendants’ discovery misconduct, the

sweeping AEO designations have prevented Ubiquiti’s counsel from being able to consult with

its client in any way regarding the documents and information produced to date in this case,

including in connection with their prosecution of its claims and preparation for the upcoming

settlement conference before Magistrate Judge Cummings. See, e.g., Glob. Material Techs, 133

F. Supp. 3d at 1088 (holding that trial preparation is made more difficult and expensive when a

party’s attorney is unable to share with the party facts that are material to its prosecution of the




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case); Team Play, 2005 WL 256476, at *1 (noting that “if [AEO] designation is not removed,

Boyer’s counsel will be prohibited from discussing the damages aspect of his case with their

client and Boyer will have no information on which to make an intelligent decision as to what a

reasonable settlement figure might be”).

        While Ubiquiti is sympathetic to any delays that Defendants and/or their counsel have

experienced as a result of the Covid-19 pandemic (and thus attempted to tailor its meet/confer

requests to apply only to a narrow subset of documents necessitated by upcoming court

deadlines), the Covid-19 General Administrative Orders do not grant Defendants the right to

abuse the discovery process or otherwise excuse them from complying with the Protective

Order’s good faith designation requirements (in the first instance)and/or Defendants’ good faith

meet and confer obligations (during these recent weeks). In the end, Defendants’ blanket AEO

designations and continued refusal to meet/confer with Ubiquiti represent nothing more than a

bad faith effort to impede Ubiquiti’s prosecution of its claims and prejudice its participation in

the upcoming settlement conference.

        As recognized in the authority cited herein, de-designation is an appropriate remedy to

address Defendants’ overbroad designations and discovery abuses. See, e.g., In re Ullico, 237

F.R.D. at 318 (ordering party to re-do its entire confidentiality designations) (citing Quotron

Systems, Inc. v. Automatic Data Processing, Inc., 141 F.R.D. 37, 40 (S.D.N.Y.1992) (imposing a

short deadline for a party to reclassify its document production as a result of its initial improper

classification)).   In order to reasonably facilitate the proper de-designations of Defendants’

document production, Ubiquiti requests that the Court enter an order: (a) compelling Defendants

to de-designate the specific documents attached to this Motion in (i) Exhibit A, to be de-

designated from AEO to “Confidential-Subject to Protective Order” (“Confidential”), and (ii)




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Exhibit B, to be de-designated from AEO to no confidentiality designation; (b) designating the

entirety of Defendants’ remaining production as Confidential, subject to Defendants’ re-

designation of the specific documents contained in the remaining production in accordance with

the terms of the Protective Order within twenty-one (21) days.

   II.      Ubiquiti is Entitled to Recovery of its Reasonable Expenses, including Attorney’s
            Fees, In Connection with this Motion.

         In addition to the relief requested in Section I above, Ubiquiti is also entitled to

reimbursement of the expenses incurred in bringing this Motion, including reasonable attorneys’

fees and costs.    Pursuant to Rule 26(c), the designation of documents as AEO under the

Protective Order is governed by an overarching requirement of “good faith.” In re Ullico, 237

F.R.D. at 317. Defendants’ violation of that requirement is clearly established by the designation

of its entire production as AEO without regard to the substance of the materials being

designated. Rule 37(a)(5) further requires, except when one or more of three exception apply,

that the Court award the movant its reasonable expenses, including attorney’s fees, when a

motion to compel disclosure is granted. See Fed R. Civ. P. 37(a)(5); see, e.g., Procaps, 2015 WL

4430955, at *6 (“the failure to obey a protective order’s prohibition against indiscriminate

designations is covered by Rule 37 and its fee-shifting presumption in favor of the prevailing

party on a motion to compel”). As applied in this context, attorneys’ fees are routinely awarded

to the movant under Rule 37 when they successfully challenge improper and excessive

confidentiality designations in violation of the good faith requirement embodied in Rule

26(c). See, e.g., THK, 157 F.R.D at 645 (sanctioning defendants and ordering that they must pay

plaintiff’s attorneys’ fees and have “lost the right” to use AEO designations); In re Ullico, 237

F.R.D. at 317 (ordering payment of movant’s attorney’s fees as an “appropriate sanction to

remedy” the designating party’s “discovery abuses”); Procaps, 2015 WL 4430955 at *10



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(holding “an attorney’s fees award is appropriate under the fee-shifting mechanism of Federal

Rule of Civil Procedure” where the “use of the highly confidential designation was significantly

incorrect and over-inclusive on a grand scale”); Healthtrio, LLC v. Aetna, Inc., 2014 WL

6886923, at *3-5 (ordering attorney’s fees as sanctions). None of the exceptions under Rule

37(a)(5)(A) apply here as Ubiquiti attempted to obtain relief from Defendants directly before

moving the Court, and Defendants’ excessive AEO designations are completely unjustified. The

mass-marking of Defendants’ production as AEO, coupled with its improper demand on Ubiquiti

to review “document by document” which designations were incorrect, demonstrates

“uncooperative, dilatory, and obstructionist litigation tactics, or similar stratagems designed to

increase the litigation expenses of the opposing party.” THK, 157 F.R.D. at 647. Accordingly

under Rule 26(c) and Rule 37(a)(5), Ubiquiti should be awarded its reasonable expenses,

including attorney’s fees, for bringing this Motion.

                                         CONCLUSION

       For the reasons set forth herein, Plaintiff Ubiquiti Inc. respectfully requests this Court to

grant the enclosed Motion and enter an order:

               (a) Compelling Defendants to de-designate the specific documents attached to this

       Motion in (i) Exhibit A, to be de-designated from AEO to “Confidential-Subject to

       Protective Order” (“Confidential”), and (ii) Exhibit B, to be de-designated from AEO to

       no confidentiality designation;

               (b) Designating the entirety of Defendants’ remaining production as Confidential,

       subject to Defendants’ re-designation of the specific documents contained in the

       remaining production in accordance with the terms of the Protective Order within twenty-

       one (21) days, or such other period to be determined at the discretion of this Court; and




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             (c) Awarding Ubiquiti its reasonable costs and attorneys’ fees incurred in

      connection with this Motion.




Dated: May 26, 2020                    Respectfully submitted by:

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 26, 2020, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.


                                                   /s/    Erik J. Ives
                                                          Erik J. Ives




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